UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOHN DOE,

                             Plaintiff,

                        v.

 SEAN COMBS, DADDY’S HOUSE
 RECORDINGS, INC., CE OPCO, LLC d/b/a
                                                                 No. 24-CV-7973 (RA)
 Combs Global f/k/a Combs Enterprises LLC,
 BAD BOY ENTERTAINMENT
                                                                        ORDER
 HOLDINGS, INC., BAD BOY
 PRODUCTIONS HOLDINGS, INC., BAD
 BOY BOOKS HOLDINGS, INC., BAD BOY
 RECORDS LLC, BAD BOY
 ENTERTAINMENT LLC, BAD BOY
 PRODUCTIONS LLC, ORGANIZATIONAL
 DOES 1–10 and INDIVIDUAL DOES 1–10,

                             Defendants.


RONNIE ABRAMS, United States District Judge:

       It has come to the Court’s attention that Anthony Buzbee, Esq., who signed the Complaint

and several other filings on behalf of Plaintiff, see Dkt. 1, 13, 34, has not been admitted to practice

in the Southern District of New York. Moreover, although Mr. Buzbee was warned several weeks

ago in a parallel case that this conduct violated Local Civil Rule 1.3, see No. 24-cv-8054 (MKV),

Dkt. 47 at 1, he failed to bring this issue to the Court’s attention. No later than March 18, 2025,

Mr. Buzbee shall file a letter explaining why he failed to notify the Court about this issue earlier

and proposing next steps to rectify it.

SO ORDERED.

 Dated:          March 11, 2025
                 New York, New York                    ________________________________
                                                       Ronnie Abrams
                                                       United States District Judge
